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 1   JAEMIN CHANG (SBN 232612)
     JChang@FoxRothschild.com
 2   FOX ROTHSCHILD LLP
     345 California Street, Suite 2200
 3   San Francisco, CA 94104-2670
     Telephone:     415.364.5540
 4   Facsimile:     415.391.4436
 5   JEFF NICHOLAS (Pro Hac Vice to be filed)
     jnicholas@FoxRothschild.com
 6   FOX ROTHSCHILD LLP
     2000 Market Street, Twentieth Floor,
 7   Philadelphia, PA 19103
     Telephone: (215) 299-2000
 8
     GUY LEWIS (Pro Hac Vice to be filed)
 9   glewis@lewistein.com
     THE LAW OFFICES OF GUY A. LEWIS
10   12575 SW 67th Avenue
     Pinecrest, FL, 33156
11   Telephone: (305) 442-1101
12   Attorneys for Claimants First 100, LLC,
     1st One Hundred Holdings, LLC and
13
     Battle Born Investments Company, LLC
14

15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18
     UNITED STATES OF AMERICA,                         Case No. 20-7811-RS
19
                    Plaintiff,                         DECLARATION OF JAEMIN CHANG IN
20                                                     SUPPORT OF CLAIMANTS’
                                                       ADMINISTRATIVE MOTION TO FILE
             v.                                        UNDER SEAL
21

22   Approximately 69,370 Bitcoin (BTC),
     Bitcoin Gold (BTG), Bitcoin SV (BSV), and
23   Bitcoin Cash (BCH) seized from                    Judge: Hon. Richard Seeborg
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hb                  Courtroom: 3
24                                                     Case Filed: November 5, 2020
     hx,                                               FAC Filed: November 20, 2020
25                                                     Trial Date:   TBD
                   Defendant.
     First 100, LLC, 1st One Hundred Holdings,
26
     LLC, and Battle Born Investments
27   Company, LLC,

28                  Claimants.

      DECLARATION OF JAEMIN CHANG IN                                         Case No. 20-7811-RS
      SUPPORT OF ADMINISTRATIVE MOTION           -1-
     120661418.v1
                  Case 3:20-cv-07811-RS Document 64-1 Filed 04/05/21 Page 2 of 3



 1           I, Jaemin Chang, declare:
 2           1.       I am a partner with law firm Fox Rothschild, LLP, counsel of record for the
 3   Claimants. I make this declaration in support of the Claimants’ Motion to file Under Seal. I
 4   have personal knowledge of the facts stated herein, and if called as a witness, I could and would
 5   competently testify thereto.
 6           2.       Claimants have filed conditionally under seal their respective Verified Answers as
 7   these documents contain references and information related to the identity of Individual X.
 8   Confidentiality of the individual is designated by the Plaintiff in this action.
 9           I declare under penalty of perjury under the laws of the United States that the foregoing is
10   true and correct, and signed on the date set forth below in San Francisco, California.
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     Dated: April 5, 2021.          /s/ Jaemin Chang
12                                          Jaemin Chang
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      DECLARATION OF JAEMIN CHANG IN                                                    Case No. 20-7811-RS
      SUPPORT OF ADMINISTRATIVE MOTION                 -2-
     120661418.v1
               Case 3:20-cv-07811-RS Document 64-1 Filed 04/05/21 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that a true and correct copy of the foregoing document was filed with the
 3   Court and electronically served through the CM-ECF system which will send a notification of
 4   such filing to all counsel of record.
 5
      Dated: April 5, 2021                          FOX ROTHSCHILD LLP
 6
                                                    /S/ Jaemin Chang
 7                                           By:
                                                   JAEMIN CHANG
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      DECLARATION OF JAEMIN CHANG IN                                                Case No. 20-7811-RS
      SUPPORT OF ADMINISTRATIVE MOTION               -3-
     120661418.v1
